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 3
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 5
   Attorney for Plaintiff Julia Seliavski
 6

 7                                   UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF CALIFORNIA
 8
                                        SAN FRANCISCO DIVISION
 9
           IN RE JUUL LABS, INC., MARKETING,                       Case No. 3:19-md-02913-WHO
10         SALES PRACTICES, AND PRODUCTS
           LIABILITY LITIGATION                                    Honorable William H. Orrick
11

12 This Document Relates to:                                        JURY TRIAL DEMANDED
13
     Julia Seliavski
14
             AMENDED SHORT-FORM COMPLAINT AND DEMAND FOR JURY TRIAL
15                             (PERSONAL INJURY)
16         The Plaintiff(s) named below file(s) this Short-Form Complaint and Demand for Jury Trial
   against Defendants named below by and through the undersigned counsel. Plaintiff(s) incorporate(s)
17
   by reference the allegations contained in Plaintiffs’ Consolidated Master Complaint (Personal
18 Injury), in In re Juul Labs, Inc., Marketing, Sales Practices, and Products Lability Litigation, MDL
   No. 2913 in the United States District Court for the Northern District of California. Plaintiff(s) file(s)
19 this Short-Form Complaint as permitted by Case Management Order No. 7 of this Court.

20           Plaintiff(s) select and indicate by checking-off where requested, the Parties and Causes of
     Actions specific to this case.1
21
               Plaintiff, by and through their undersigned counsel, allege as follows:
22

23

24

25
     1
         If Plaintiff wants to allege additional Cause(s) of Action other those selected in paragraph 10, the specific
26 facts supporting any such additional Cause(s) of Action, must be pled in a manner complying with the
     requirements of the Federal Rules of Civil Procedure (see paragraph 11). In doing so you may attach additional
27 pages to this Short-Form Complaint.

28
                                                            -1-
                                                AMENDED SHORT-FORM COMPLAINT AND JURY DEMAND
                                                                             (PERSONAL INJURY)
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 1             DESIGNATED FORUM2

 2
               1.      Identify the Federal District Court in which the Plaintiff would have filed in the
 3                     absence of direct filing:

 4                           USDC, Eastern District of Virginia

 5                      (“Transferee District Court”).

 6 I.          IDENTIFICATION OF PARTIES
 7             A.      PLAINTIFF(S)
 8                  2. Injured Plaintiff(s): Name of the individual injured due to use of JUUL products:
 9                        Julia Seliavski

10                      (“Plaintiff”).

11
                    3. At the time of the filing of this Short-Form Complaint, Plaintiff resides at:
12                           Richmond, Virginia
13

14                  4. Consortium Plaintiff: Name of the individual(s) that allege damages for loss of
                       consortium:
15
                             Not applicable
16
                        (“Consortium Plaintiff”).
17

18                  5. Survival and/or Wrongful Death Claims:
                       (a)       Name and residence of Decedent Plaintiff when he/or she suffered a JUUL
19                               related death:
20                                Not applicable

21

22                     (b)       Plaintiff/Decedent died on:
                                  Not applicable
23

24
                       (c)       Plaintiff is filing this case in a representative capacity as the ____ of the
25                               ___________ having been duly appointed as such by the Court of ________.
26

27
     2
28       See Case Management Order No. 3, at II(C) (ECF No. 309).
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                                               AMENDED SHORT-FORM COMPLAINT AND JURY DEMAND
                                                                            (PERSONAL INJURY)
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 1              B.      DEFENDANT(S)

 2               6.     Plaintiff(s) name(s) the following Defendants in this action:
 3                               JUUL LABS, INC., previously d/b/a as PAX LABS, INC. and PLOOM INC.;3
 4
                                 ALTRIA GROUP, INC.;4
 5
                                 PHILIP MORRIS USA, INC.;5
 6
                                 ALTRIA CLIENT SERVICES LLC;6
 7
                                 ALTRIA GROUP DISTRIBUTION COMPANY;7
 8

 9                               ALTRIA ENTERPRISES LLC;8

10                      THE MANGEMENT DEFENDANTS
11                               JAMES MONSEES;9
12
                                 ADAM BOWEN;10
13
                                 NICHOLAS PRITZKER;11
14
                                 HOYOUNG HUH;12
15

16                               RIAZ VALANI;13

17                      THE E-LIQUID MANUFACTURING DEFENDANTS

18

19

20   3
         Delaware corporation, with its principal place of business in San Francisco, California.
     4
21       Virginia corporation, with its principal place of business in Richmond, Virginia.
     5
         Virginia corporation with its principal place of business in Richmond, Virginia.
22   6
         Virginia limited liability company with its principal place of business in Richmond, Virginia.
23   7
         Virginia corporation with its principal place of business in Richmond, Virginia.
     8
24       Virginia limited liability company with its principal place of business in Richmond, Virginia.
     9
         A resident of California.
25
     10
          A resident of California.
26   11
          A resident of California.
27   12
          A resident of California.
     13
28        A resident of California.
                                                             -3-
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                                                                             (PERSONAL INJURY)
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 1                               MOTHER MURPHY'S LABS, INC.;14

 2                               ALTERNATIVE INGREDIENTS, INC.;15
 3
                                 TOBACCO TECHNOLOGY, INC.;16
 4
                                 eLIQUITECH, INC.;17
 5
                        THE DISTRIBUTOR DEFENDANTS
 6
                                 MCLANE COMPANY, INC.;18
 7

 8                               EBY-BROWN COMPANY, LLC;19

 9                               CORE-MARK HOLDING COMPANY, INC.;20
10                      THE RETAILER DEFENDANTS
11
                                 CHEVRON CORPORATION;21
12
                                 CIRCLE K STORES INC.;22
13
                                 SPEEDWAY LLC;23
14

15                               7-ELEVEN, INC.;24

16                               WALMART;25

17

18
     14
          North Carolina corporation, with a principal place of business in North Carolina.
19
     15
          North Carolina corporation, with a principal place of business in North Carolina.
20   16
          Maryland corporation, with a principal place of business in Maryland.
21   17
          Maryland corporation, with a principal place of business in Maryland.
     18
22        Texas corporation with a principal place of business in Texas.
     19
          Delaware limited liability company with a principal place of business in Illinois.
23
     20
          Delaware corporation. From 2015-2018, principal place of business California; as of 2019, principal place
24 of business Texas.
     21
          Delaware corporation with a principal place of business in California.
25
     22
          Texas corporation with a principal place of business in Arizona.
26   23
          Delaware corporation with a principal place of business in Ohio.
27   24
          Texas corporation with a principal place of business in Texas.
     25
28        Delaware corporation with a principal place of business in Arkansas.
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                                                 AMENDED SHORT-FORM COMPLAINT AND JURY DEMAND
                                                                              (PERSONAL INJURY)
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 1                               WALGREENS BOOTS ALLIANCE, INC. 26

 2              C.      PRODUCT USE
 3
                7.      Plaintiff used JUUL during the time period including from July 2017 to Spring 2018
 4                      and that use caused and or substantially contributed to her injury.

 5              D.      PHYSICAL INJURY27
 6              8.      The Plaintiff(s) experienced the following physical condition, injury or illness alleged
 7                      to have been caused and or contributed to as a substantial factor by JUUL:

 8                                ADDICTION

 9                                NICOTINE POISIONING
10                               BEHAVIORAL ISSUES/MENTAL HEALTH (check all that apply):
11
                                         ANGER/OUTBURSTS
12
                                         MOOD SWINGS
13                                       IRRITABILITY
14                                       SUICIDAL THOUGHTS
15                                       SUICIDAL ATTEMPTS
                                         DEATH BY SUICIDE
16
                                         OTHER (specify): ______________________________
17

18

19                               COGNITIVE ISSUES (check all that apply):
20                                       ATTENTION DEFICIT DISORDER
21                                       LEARNING IMPAIRMENTS
22                                       LACK OF CONCENTRATION
                                         TROUBLE SLEEPING
23

24
     26
          Delaware corporation with a principal place of business in Illinois.
25
     27
          Plaintiff(s) must check-off all physical injuries allegedly caused by Plaintiff’s use of JUUL. Plaintiff is not
26 required to plead here emotional or psychological injuries, or all manifestations of the physical injury alleged
     which will be inquired into as part of the Plaintiff’s Fact Sheet (“PFS”). This Short-Form Complaint assumes
27 that emotional and psychological damages are asserted by the Plaintiff.

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                                                 AMENDED SHORT-FORM COMPLAINT AND JURY DEMAND
                                                                              (PERSONAL INJURY)
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 1                         OTHER (specify):____________________________

 2
                     CARDIOVASCULAR (check all that apply):
 3                            HEART ATTACK
 4                            OTHER CARDIOVASCULAR DIAGNOSIS (specify)
 5

 6
                     NEUROLOGIC (check all that apply):
 7                     SEIZURES
 8                     STROKE

 9
                     RESPIRATORY/LUNG (check all that apply):
10
                       ACUTE EOSINOPHILIC PNEUMONIA/PULMONARY
11                     EOSINOPHILIA

12                     ACUTE INTERSTITIAL PNEUMONITIS OR ACUTE PNEUMONIA
                       ACUTE RESPIRATORY DISTRESS SYNDROME (ARDS)
13
                       ASTHMA
14
                       BRONCHITIS
15                     CHRONIC LUNG PROBLEMS
16                     CHRONIC OBSTRUCTIVE PULMONARY DISEASE (COPD)
                       E-CIGARETTE, OR VAPING, PRODUCT USE ASSOCIATED LUNG
17
                       INJURY (EVALI)
18                     ESPHYSEMA
19                     LIPOID PNEUMONIA

20                     LUNG TRANSPLANT
                       OTHER SPECIFIED INTERSTITIAL PULMONARY DISEASE
21
                       PNEUMONIA (any type) (specify): __________________________
22
                       POPCORN LUNG/BRONCHIOLITIS OBLITERANS
23

24
                     DEATH
25

26                    OTHER PERSONAL INJURIES (specify):
27

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                                           -6-
                                 AMENDED SHORT-FORM COMPLAINT AND JURY DEMAND
                                                              (PERSONAL INJURY)
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 1
           9.      The physical condition, injury or illness alleged in paragraph 7 occurred on or about:
 2
                   Spring 2018
 3

 4 V.      CAUSES OF ACTION ASSERTED

 5         10.     The following Causes of Action asserted in the Plaintiffs’ Consolidated Master

 6 Complaint (Personal Injury), and the allegations with regard thereto in the Plaintiffs’ Consolidated

 7 Master Complaint (Personal Injury), are adopted in this Short Form Complaint by reference:

 8
        Check if   Cause  Cause of Action
 9      Applicable of
                   Action
10                 Number
11
                         I       STRICT LIABILITY - DESIGN DEFECT
12
                        II       STRICT LIABILITY - FAILURE TO WARN
13
                        III      STRICT LIABILITY - MANUFACTURING DEFECT
14

15                      IV       PRODUCTS LIABILITY - NEGLIGENT DESIGN

16                      V        PRODUCTS LIABIITY –NEGLIGENT FAILURE TO WARN

17                      VI       PRODUCTS LIAIBILITY – NEGLIGENT MANUFACTURING
18
                       VII       NEGLIGENCE AND/OR GROSS NEGLIGENCE
19
                       VIII      NEGLIGENT FAILURE TO RECALL/ RETROFIT
20
                        IX       NEGLIGENT MISREPRESENTATION
21

22                      X        FRAUD

23                      XI       FRAUDULENT CONCEALMENT

24                     XII       CONSPIRACY TO COMMIT FRAUD
25
                       XIII      UNJUST ENRICHMENT
26
                       XIV       VIOLATION OF UNFAIR TRADE PRACTICES/CONSUMER
27                               PROTECTION LAW and specify which state’s statute below
                                 Virginia
28
                                                     -7-
                                         AMENDED SHORT-FORM COMPLAINT AND JURY DEMAND
                                                                      (PERSONAL INJURY)
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 1    Check if   Cause  Cause of Action
      Applicable of
 2               Action
                 Number
 3

 4
                  XV     BREACH OF EXPRESS WARRANTY
 5
                  XVI    BREACH OF AN IMPLIED WARRANTY OF
 6
                         MERCHANTABILITY
 7
                  XVII   WRONGFUL DEATH
 8
                 XVIII   SURVIVAL ACTION
 9

10                XIX     LOSS OF CONSORTIUM

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                                AMENDED SHORT-FORM COMPLAINT AND JURY DEMAND
                                                             (PERSONAL INJURY)
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 1 VI.     ADDITIONAL CAUSES OF ACTION

 2                                                      NOTE
 3        If Plaintiff wants to allege additional Cause(s) of Action other those selected in paragraph 10, the
          specific facts supporting any such additional Cause(s) of Action, must be pled in a manner complying
 4        with the requirements of the Federal Rules of Civil Procedure (see paragraph 11). In doing so you may
          attach additional pages to this Short-Form Complaint.
 5

 6

 7          11.     Plaintiff(s) assert(s) the following additional theories against the Defendants
     designated in paragraph 6 above:
 8
          N/A
 9

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             WHEREFORE, Plaintiff(s) pray(s) for relief and judgment against Defendants for
19

20 compensatory, treble, and punitive damages, medical monitoring to diagnose JUUL induced injuries

21 at an earlier date to allow for timely treatment and prevention of exacerbation of injuries, together

22 with interest, costs of suit, attorneys' fees, and all such other relief as the Court deems proper, and

23 such further relief as the Court deems equitable and just, and as set forth in the Plaintiffs’

24
     Consolidated Master Complaint (Personal Injury).
25

26

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                                            AMENDED SHORT-FORM COMPLAINT AND JURY DEMAND
                                                                         (PERSONAL INJURY)
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 1                                        JURY DEMAND

 2         Plaintiff(s) hereby demand a trial by jury as to all claims in this action.
 3

 4
     DATED: July 31, 2023                                          /s/ William A. Levin
 5                                                                 LEVIN SIMES LLP
                                                                   1700 Montgomery Street, Suite 250
 6                                                                 San Francisco, CA 94111
                                                                   Telephone: (415) 426-3000
 7
                                                                   Facsimile: (415) 426-3001
 8                                                                 Email: wlevin@levinsimes.com

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                                          AMENDED SHORT-FORM COMPLAINT AND JURY DEMAND
                                                                       (PERSONAL INJURY)
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 1

 2                                   CERTIFICATE OF SERVICE

 3          I hereby certify that on July 31, 2023, I electronically filed the forgoing with the Clerk of
 4
     the Court using the CM/ECF system which will send notification of such filing to the CM/
 5
     ECF participants registered to receive service in this member case.
 6

 7

 8                                                                /s/ William A. Levin______
                                                                  William A. Levin, Esq.
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                                                   1
                                             PROOF OF SERVICE
